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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA            )
                                     )
                                     )
                                     )
 v.                                  )            NO. 1:07-CR-74-DBH-07
                                     )
 ROBERT DONATH,                      )
                                     )
                   DEFENDANT         )


      ORDER ON MOTION TO APPOINT COUNSEL AND REDUCE SENTENCE


        On September 19, 2011, the Clerk’s Office docketed a letter from the
 defendant Robert Donath inquiring whether he was eligible for a sentence
 reduction in light of the new and retroactive crack cocaine guidelines and
 recounting his inability to reach his lawyer. Def. Letter Requesting Reduction
 in Sentence (Docket Item 1142).         A Procedural Order followed, delaying
 consideration until November 1, 2011, the effective date of the Guideline
 amendments.
        I have now reviewed the sentence previously imposed.      Although the
 defendant Donath was charged with conspiracies that included cocaine,
 cocaine base and oxycodone, his actual sentence was calculated solely upon
 the quantities of powder cocaine for which he was responsible. Crack cocaine
 played no role in his sentence. As a result, the new more lenient crack cocaine
 guidelines do not help him. Treating his letter as a motion for appointment of
 counsel and/or reduction of sentence, I DENY the motion.

        SO ORDERED.

        DATED THIS 3RD DAY OF NOVEMBER, 2011

                                            /s/D. Brock Hornby
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE
